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 8                                    UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    RALPH COLEMAN, et al.,                           No. 2:90-cv-0520 KJM KJN P
12                       Plaintiff,
13           v.                                        ORDER
14    EDMUND G. BROWN, JR., et al.,
15                       Defendants.
16

17                  On October 4, 2019, the Special Master filed a request for appointment of

18   additional staff. ECF No. 6307. In the memorandum supporting the request, the Special Master

19   advises that the parties have represented that they have no objection to the requested

20   appointments. ECF No. 6308 at 7.

21                  The Special Master seeks appointment of James F. DeGroot, Ph.D., Brian J. Main,

22   Psy.D., and paralegals Rachel Gribbin and Lana L. Lopez to his staff. As experts, Dr. DeGroot

23   and Dr. Main are each to be compensated at the rate of two hundred fifty dollars ($250.00) per

24   hour for their work and ninety dollars ($90.00) per hour for travel time, plus reasonable expenses.

25   As paralegals, Ms. Gribbin and Ms. Lopes are each to be compensated at the rate of one hundred

26   ninety dollars ($190.00) per hour for their work and ninety dollars ($90.00) per hour for travel

27   time, plus reasonable expenses.

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     Case 2:90-cv-00520-KJM-DB Document 6313 Filed 10/08/19 Page 2 of 2


 1                    Pursuant to paragraph B(7) of this court’s December 11, 1995 order and good
 2   cause appearing therefore, IT IS HEREBY ORDERED that:
 3                    1.     The Special Master’s October 4, 2019 request for appointment of
 4   additional staff, ECF No. 6307, is GRANTED; and
 5                    2.     The Special Master is authorized to appoint James F. DeGroot, Ph.D.,
 6   Brian J. Main, Psy.D., and paralegals Rachel Gribbin and Lana L. Lopez to his staff to perform
 7   the duties set forth in the Special Master’s Request for the Appointment of Additional Staff and
 8   the accompanying memorandum, filed October 4, 2019, and to be compensated at the rates set
 9   forth therein.
10   DATED: October 8, 2019.
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                                                      UNITED STATES DISTRICT JUDGE
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